UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

                                                                       MEMORANDUM AND ORDER
                                                                        ADOPTING REPORT AND
                                                                           RECOMMENDATION
                  - against -                                            l 5-CR-437 (RRM) (RML)

LEONARDO HANSON, a/k/a Dillon Bussell,

                           Defendant.
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ROSL YNN R. MAUSKOPF, United States District Judge.

                                              INTRODUCTION

          Defendant Leonardo Hanson, a/k/a Dillon Bussell, is charged by indictment with illegal

reentry pursuant to 8 U.S.C. §§ 1326(a) and (b)(2). He moves to dismiss the indictment pursuant

to, inter alia, 8 U.S.C. § 1326(d), claiming that his removal from the United States pursuant to a

removal order issued by an Immigration Judge (the " IJ") on March 22, 20 12 was fundamentally

unfair.

          The Court referred Hanson' s motion to Magistrate Judge Robert M. Levy for a Report

and Recommendation ("R&R"). Following full briefing, oral argument, post-argument

supplemental briefing, and additi onal oral argument, Magistrate Judge Levy issued his R&R,

recommending that Hanson ' s motion be denied. Hanson filed timely objections, and the

government responded thereto.

          A district court may "accept, reject, or modify, in whole or in pa1t, the findings or

recommendations made by the magistrate judge." Fed. R. Crim P. 59(b)(3);

28 U.S.C. § 636(b)(l). The district judge "shall make a de novo determination of those portions

of the Report and Recommendation to which objection is made." 28 U.S.C. § 636(b)(l); see

Thomas v. Arn, 474 U.S. 140, 149-50 ( 1985); United States v. Male Juvenile, 121 F.3d 34, 38 (2d
Cir. 1997). Upon de novo review of the R&R here, including the report, the record, applicable

legal authorities, and all objections and replies, the Court adopts the Magistrate Judge's thorough

and we ll-reasoned R&R in its entirety, and denies Hanson's motion to dismiss the indictment.

                                           DISCUSSION

       The Court assumes familiarity with the facts, procedural hi story, and background of this

matter as set forth in the R&R, none of which is in dispute. Put briefly, Hanson seeks to

co llaterally challenge the validity of the removal order upon which the current charge of illegal

reentry is predicated. "The alien bears the burden of showing that entry of the removal order was

fundamentally unfair." United Stales v. Daley, 702 F.3d 96, 100 (2d Cir. 2012); see also

8 U.S.C. § 1326(d)(3). Hanson makes two assertions in support of the clai m that his removal

order was fundamentally unfair: first, the JJ did not inform Hanson that he was eli gible for

voluntary departure, and second, the IJ did not ensure that Hanson 's waiver of his right to

representation at his own expense was knowing and voluntary.

       The Magistrate Judge correctly concluded that Hanson was not eligible for voluntary

departure pursuant to 8 U.S.C. § 1229c(a) because Hanson was previously convicted of an

"aggravated felony" - the crime of Robbery in the Third Degree under New York Penal Law

§ 160.05. Thus, the Magistrate Judge properly concluded that the fai lure to advise Hanson

regarding this form of di scretionary relief was not error, prejudicial, or fundamentally unfair.

United States v. Copeland, 376 F.3d 61, 70 (2d Cir. 2004) ("To show fundamental unfairness

under § 1326(d)(3), a defendant must show both a fundan1ental procedural e1Tor and prejudice

resulting from that error. ") (internal citation and quotation marks omitted).

       With regard to Hanson' s waiver of his right to representation at his own expense, the

Magistrate Judge reviewed the proceedings before the JJ and correctly fo und that the IJ gave



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Hanson ample time and guidance with regard to his rights, and fully complied with the requisites

of the Due Process Clause, the immigration statutes, and the relevant regulations in effect at the

time. In that way, the Magistrate Judge ensured that Hanson knowingly and intelligently waived

his right to counsel. See 8 C.F.R. § 1240.1 O(a) (2012); Picca v. /vlukasey, 512 F.3d 75 , 78 (2d

Cir. 2008) (holding that failure to follow established procedures can constitute reversible error

without any showing of prejudice, as "the right to counsel concerns fundamental notions of fair

play underlying the concept of due process .... ") (internal citation and quotation marks

omitted).

       Hanson advances objections to the Magistrate Judge's conclusions on both prongs of his

motion. They are, in essence, a "second bite at the apple," as they merely recite the same

arguments made before the Magistrate Judge, and they contain no case law. While such

objections are typically subject to clear error review, the Court has conducted a full de novo

review of Hanson 's objections, and finds them to be without merit for the san1e reasons advanced

by the Magistrate Judge.

Voluntary Departure

       Hanson asserts in his objections, as he did before the Magistrate Judge, that his two prior

convictions for Robbery in the Third Degree under New York law do not constitute "aggravated

felonies" either as "theft offenses" under 8 U.S .C. § 1101 (a)(43)(G) or as "crimes of violence"

under 8 U .S.C. § 110 I (a)(43)(F). On that basis, Hanson argues that he is eligible for voluntary

departure at the time of his removal from the United States and that the IJ was obligated to

advise him of that eligibility. The Magistrate Judge did not reach the issue of whether the crime

constitutes a crime of violence, as he found that it constitutes a theft offense. In his objections,

Hanson continues to complain that "the R&R does not address all of the issues raised by Mr.



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Hanson" including "Mr. Hanson's crime of violence arguments." (Hanson Obj . (Doc. No. 43) at

I .) That Hanson presses this argument " ignores the fact that conviction of a ' theft offense' . .. is

an independent basis for removal under section 1101 (a)(43)(g) irrespective of whether the

offense was also a 'crime of violence' under section l 101(a)(43)(F)." Hatkewicz v. AG of the

United States, 350 Fed. Appx. 667, 67 1 (3d Cir. 2009).

       The parties agree on the generic definition of a theft offense within the meaning of

§ I 0 I (a)(43)(G) as set forth by the BIA: "the taking of, or exercise of control over, property

without consent whenever there is criminal intent to deprive the owner of the rights and benefits

of ownership, even if such deprivation is Jess than total or permanent." Maller of Ligurian de

Fatima Garcia-Madruga, 24 J&N Dec. 436 (B IA 2008). The BIA has further explained that "the

taking of property without consent is required for a§ l IOl (a)(43)(G) 'theft offense,"' in contrast

to an " offense that involves 'fraud or deceit "' under § I I 01(a)(43)(M), which "ordinarily

invo lves the taking or acquisition of property with consent that has been fraudu lently obtained."

Id. at 440 (emphasis in original).

       Hanson argues in his obj ections, as he did before the Magistrate Judge, that because

robbery by definition must be committed " in the course of committing a larceny," and because a

larceny encompasses fraudulent consensual takings, third degree robbery cannot be a theft

offense. But as the Magistrate Judge correctly noted, "defendant fails to take into account the

way in which robbery is distinguishable from larceny: it requires the use or a tlu·eat to use

physical force. Without resorting to an exercise in creative legal imaginations the use or threat

of physical fo rce is incongruous with a consensual taking." (R&R (Doc. No. 42) at 9.) Thus, it

is no surprise that the Second Circuit has consistently held that the varying degrees of robbery

under New York law are theft offenses within the meaning of8 U.S.C. § I IO l (a)(43)(G). See



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Bro . .vn v. Ashcroft, 360 F.3d 346, 354 (2d Cir. 2004) ("The amended definition of aggravated

fe lony, which includes theft offenses accompanied by a term of imprisonment of at least one

year, 8U.S.C.§l10l(a)(43)(G), and attempt to commit such an offense, id.§ l 10l(a)(43)(U),

therefore encompasses [petitioner's] 1994 convictions [for attempted second-degree robbery].")

(italics added); Perez v. Greiner, 296 F.3d 123, 126 n.5 (2d Cir. 2002) ("Robbery in the second

degree is an 'aggravated felony,' 8 U.S.C. § l 10l(a)(43)(G) .. . .");United States v. Fernandez-

Antonio, 278 F.3d 150, 160 (2d Cir. 2002) (finding that defendant "pleaded guilty to attempted

robbery in the third degree, a crime that meets the definition of ' aggravated felony' under 8

U.S.C. § 1101 (a)(43)(G)"); see also Brown v. Mazzuca, No. 03 CV 666, 2004 WL 17533 14, at

*5 (E.O.N.Y. Aug. 5, 2004) (finding that petitioner "was convicted ofrobbery in the first degree,

an aggravated felony as defined in 8U.'S.C.§ l 10l(a)(43)(G)") (internal footnote omitted).

        Hanson again objects to reliance on these cases, as he did before the Magistrate Judge,

claiming that they "do not relate specifically to robbery in the third degree." (Hanson Obj. at 2.)

He continues, " [t]here are no 'aggravating factors' in the robbery in the thi rd degree statute,

which effectively guts the government's argument that non-robbery in the th ird degree cases are

on point." (Id.) These assertions miss the mark. The "core requirement for all three degrees of

robbery under the Penal Law is proof that the defendant forcibly stole property from another."

People v. Lopez, 535 N.E. 2d 1328, 1330 (N. Y. 1989). Thus, the gradation of robbery merely

reflects the presence of aggravating factors. See People v. Miller, 661 N.E.2d 1358, 1360-61

(N. Y. 1995) (finding that distinctions among degrees of robbery reflect specified aggravating

factors).

        Hanson also asserts, as he did before the Magistrate Judge, that " [t]here are countless

ways that a consensual taking can occur under the robbery in the third degree statute, and it does



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not take any creative imagination to see that a mere threat to use a modicum of physical fo rce,

such as lightly touching a shoulder or fo rearm, would not be ' incongruous w ith a consensual

taking,' or to avo id the double negative, how a threat or use of nominal non-inj urious physical

force can be compatible with a consensual taking." (Hanson Obj. at 2.) This argument fails, as

well. Hanson has not proffered any case law that demonstrates that his hypothetical factual

scenarios give ri se to a robbery offense. Moncrieffe v. Holder, 133 S.Ct 1678, 1684 (20 13)

("Our focus on the minimum conduct criminalized by the state statute is not an invitation to

apply ' lega l imagination' to the state offense; there must be a realistic probability, not a

theoretical possibility, that the State would apply its statute to conduct that falls outside the

generic definition of a crime.").

          Simply put, Hanson raises in hi s objections on the same arguments that were rejected by

the Magistrate Judge. Applying de novo review to the R&R and considering those objections,

the Court adopts in full the reasoning and conclusions of Magistrate Judge Levy and finds that

due to his third degree robbery convictions, Hanson was statutorily ineligible for vo luntary

departure, and as a result, no fundamental unfai rness resulted from the IJ ' s fai lure to inform

Hanson about this discretionary form of relief. As such, the Court denies this prong of Hanson' s

motion.

Waiver of Right to Counsel

          In his objections, Hanson continues to press the argument that the remova l order was

fundamentally unfair because the IJ failed to engage in a colloquy sufficient to ensure that

Hanson's waiver of his ri ght to counsel was knowing and voluntary. He cla ims that "[t]he IJ did

not do the bare minimum to make sure that Mr. Hanson understood his right to counsel and

vo luntarily waived it, particularly during [Hanson's] second appearance in which the final



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remova l order was issued." (Hanson Obj. at 2.) Hanson also claims: "In that appearance, the IJ

literally asked 'You need more time for an attorney? ' and then 'You want to be deported?"' (Id.)

Hanson 's argument fails to acknowledge the fu ll colloquy held over two appearances before the

IJ, which, as the Magistrate Judge con-ecll y found, fully compl ied with the Due Process Clause

and all of the regulations in effect at the time of the hearing. As the Magistrate Judge fo und,

Hanson was advised of his right to counsel, and he confirmed that he understood his right and

that he had received a list of free attorneys. (R&R at 12.) The IJ "strongly encouraged" Hanson

to contact his family to help him obtain an attorney and adj ourned the hearing to give Hanson

time to so do. (Id.) At the continued hearing, the IJ asked Hanson at the outset whether he

needed more time to look for an attorney, to which Hanson replied that he did not because he

"came to the decision that [he] want[ed] to go back to [his] country." (Id.) On thi s record, the

Magistrate Judge properly concluded that Hanson's waiver of his right to counsel was knowing

and voluntary. This Court reaches the same conclusion. 1




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  Hanson now acknowledges that the !J's fa ilure to engage in the colloquy suggested in the Imm igration Judge's
Benchbook is not a per se violation of his due process rights. (Hanson Obj. at 2.) However, he claims that this
fai lure is "highly informative and illustrat ive of how the IJ failed to safeguard the constitutional rights of an
unrepresented minor who faced being separated from his mother and fam ily for the rest of his li fe." (Id. at 2-3.)
Hanson does not specify how any differences between the inquiry of the IJ and that suggested in the Benchbook may
have undermined Hanson's rights. Nor has Hanson proffered any case law - either in his objections or in his
briefing before the Magistrate Judge - that requ ires an IJ to fo llow the Benchbook script.

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                                       CONCLUSION

       For the foregoing reasons, upon de nova review, the Court overrules Hanson' s objections

to Magistrate Judge Levy's R&R, adopts in full the reasoning and conclusions in the R&R, and

denies Hanson's motion to dismiss the indictment.



                                                    SO ORDERED.


Dated : Brooklyn, New York
        February 2 1, 201 7

                                                      s/Roslynn R. Mauskopf
                                                    ROSL YNN R. MAUSKOPF
                                                    United States District Judge




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